                                                                                                            Exhibit H
                                                 Public Portal Family Type Case

                                                            Case Summary
                                                          Case No. 2020-DM-000131




                                                      D
 In the Matter of the Marriage of Jonathan David Lawson             §                     Location: Anderson County
 vs Angeliina Lynn Lawson                                           §               Judicial Officer: Godderz, Eric W
                                                                    §                      Filed on: 09/02/2020



                                                           Case Information

Statistical Closures                                                                   Case Type: DM Marriage
11/10/2020 Settled Without Judical Conf or Hearing                                                 Dissolution/Divorce
                                                                                      Case Status: 11/10/2020 Post Judgment



                                                           Party Information

Petitioner     Lawson, Jonathan David Abrams-Wharton, Randall John (Inactive)
                                      Retained
                                             Poe, Breanne Christine Hendricks
                                             Retained
Respondent Lawson, Angeliina Lynn            Schowengerdt, Daniel J (Inactive)
                                             Retained
                                             Wood, Ronald Phillip
                                             Retained
                                             Spangler, Jennifer Elizabeth
                                             Retained



                                                              Case Events

09/01/2020     INF: Information (Generic)
                 JUDGES NOTES
09/02/2020     PLE: Petition
                 Petition for Divorce PLE: Petition
09/02/2020     INF: Information (Generic)
                 Voluntary Entry of Appearance, Waiver of Answer and Waiver of Notice INF: Information (Generic)
09/02/2020     INF: Child Support Worksheet - No Judge Signature Requested
                 Child Support Worksheet INF: Child Support Worksheet - No Judge Signature Requested
09/02/2020     INF: Parenting Plan
                 Proposed Parenting Plan INF: Parenting Plan
09/02/2020     AFF: Affidavit (Generic)
                 Domestic Relations Affidavit of Jonathan Lawson AFF: Affidavit (Generic)
09/02/2020     AFF: Affidavit (Generic)
                 Domestic Relations Affidavit of Angeliina Lawson AFF: Affidavit (Generic)
09/02/2020     INF: Exhibit
                 Property Settlement Agreement INF: Exhibit
09/02/2020     AFF: Affidavit (Generic)
                 Affidavit of Angeliina Lawson AFF: Affidavit (Generic)
09/02/2020     MOT: Motion (Generic)
                Motion to Withdraw MOT: Motion (Generic)
11/04/2020     MOT: Motion (Generic)
                Motion to Withdraw

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                                                       Case Summary
                                                   Case No. 2020-DM-000131
11/09/2020   ORD: Decree
               Decree of Divorce
11/09/2020   ORD: Withdraw
               Order to Withdraw as Counsel of Record
05/18/2023   INF: Entry of Appearance
               Entry of Appearance (D. Schowengerdt)
07/13/2023   MOT: 28-179 - Modify Motion
              Motion to Modify and Enforce
              Party: Respondent Lawson, Angeliina Lynn
              Motion to Modify and Enforce
07/13/2023   INF: Exhibit
               Exhibit A
               Party: Respondent Lawson, Angeliina Lynn
               Exhibit A
07/18/2023   NOT: Notice - No Sheriff Service Required
               Notice of Hearing (August 10, 2023, at 9:30am)
08/07/2023   INF: Entry of Appearance
               Entry of Appearance (Breanne Poe)
09/18/2023   PLE: Response - Answer
               Petitioner's Response to Respondent's Motion to Modify and Enforce
11/15/2023   INF: Information (Generic)
               CR Rhonda Rhodes Wise
12/13/2023   INF: Information (Generic)
               CR Rhonda Rhodes Wise
01/08/2024   INF: Entry of Appearance
               Entry of Appearance (Jennifer Spangler)
01/08/2024   MOT: Motion (Generic)
              Motion for Continuance
02/07/2024   INF: Information (Generic)
               CR Rhonda Rhodes Wise
02/22/2024   INF: Information (Generic)
               CR Rhonda Rhodes Wise
03/25/2024   INF: Exhibit
               Updated Exhibit A $3,366.16- Spangler
03/25/2024   INF: Information (Generic)
               CR Rhonda Rhodes Wise
03/27/2024   NOT: Notice - No Sheriff Service Required
               Notice of Submission pursuant to Rule 133
03/27/2024   MOT: Motion (Generic)
              Motion to Withdraw
03/29/2024   MOT: Motion (Generic)                                                                 Index # 1
              Motion to Enforce and Motion to supplement
03/29/2024   MOT: Motion (Generic)                                                                 Index # 2
              Motion to Modify Custody, Parenting time, and Support
03/29/2024   MOT: Appoint - Guardian Ad Litem                                                      Index # 3
              Motion for Appointment of Guardian Ad Litem
03/29/2024   NOT: Notice - No Sheriff Service Required                                             Index # 4
               Certificate of Service of Interoggs and Rfpd
07/15/2024   INF: Information (Generic)                                                            Index # 5
               Certificate of Service
07/15/2024   INF: Information (Generic)                                                            Index # 6

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                                                       Case Summary
                                                  Case No. 2020-DM-000131
               Certificate of Service
07/15/2024   AFF: Affidavit (Generic)                                                                         Index # 7
               Domestic Relations Affidavit
07/15/2024   MOT: Response                                                                                    Index # 8
              Petitioner's Response to Respondent's Motion to Modify Custody, Parenting Time
07/15/2024   INF: Information (Generic)                                                                       Index # 9
               CR Rhonda Rhodes Wise
07/26/2024   ORD: Appoint Guardian Ad Litem                                                                   Index # 10
               Order Appointing Guardian Ad Litem (D. Lawson - 2010)
07/29/2024   MOT: Motion (Generic)                                                                            Index # 1 1
              Emergency Motion to Suspend Parenting Time and Sole Legal Custody
08/01/2024   INF: Entry of Appearance                                                                         Index # 12
               Substitution of Counsel (Breanne Poe)
08/08/2024   INF: Information (Generic)                                                                       Index # 13
               CR Rhonda Rhodes Wise
08/28/2024   INF: Entry of Appearance                                                                         Index # 1 5
               Entry of Appearance (Ronald P. Wood)
08/28/2024   INF: Information (Generic)                                                                       Index # 14
               CR Rhonda Rhodes Wise
08/29/2024   MOT: Motion (Generic)                                                                            Index # 16
              Motion for Emergency Ex Parte Temporary Orders
09/19/2024   INF: Information (Generic)                                                                       Index # 17
               CR Rhonda Rhodes Wise
09/21/2024   ORD: Order (Generic)                                                                             Index # 18
               Temporary Orders
09/27/2024   ORD: Withdraw                                                                                    Index # 19
               Order To Withdraw (Daniel Schowengerdt)
10/03/2024   INF: Information (Generic)                                                                       Index # 20
               CR Rhonda Rhodes Wise
10/07/2024   MOT: Motion (Generic)                                                                            Index # 21
              Motion to Change Venue
10/29/2024   INF: Information (Generic)                                                                       Index # 22
               CR Rhonda Rhodes Wise
11/20/2024   ORD: Order (Generic)                                                                             Index # 23
               Journal Entry Regarding 10-29-24 Hearing
11/21/2024   MOT: Motion (Generic)                                                                            Index # 24
              Motion for Payment of Guardian Ad Litem Fees
12/12/2024   INF: Information (Generic)                                                                       Index # 25
               CR Rhonda Rhodes Wise
12/31/2024   MOT: Transcript                                                                                  Index # 26
              Request for Transcripts
02/19/2025   MOT: Motion (Generic)                                                                            Index # 27
              Motion for Psychological Test
02/24/2025   MOT: Motion (Generic)                                                                            Index # 28
              Motion for Psychological Testing of Father
02/26/2025   INF: Information (Generic)                                                                       Index # 29
               CR Rhonda Rhodes Wise
03/04/2025   AFF: Affidavit (Generic)                                                                         Index # 30
               Affidavit filed by Respondent
03/31/2025   INF: Information (Generic)                                                                       Index # 31

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                                                      Case Summary
                                                /) Case No. 2020-DM-000131
                Supervised Parenting Time Court Report
03/31/2025   AFF: Affidavit (Generic)                                                                             Index # 32
04/14/2025   MOT: Motion (Generic)                                                                                Index # 33
              Motion to Withdraw Attorney & Notice of Self-Representation
04/21/2025   NOT: Notice (Generic)                                                                                Index # 34
               Rule 170 Notice - Journal Entry Regarding Psychological Testing
04/21/2025   NOT: Notice (Generic)                                                                                Index # 35
               Notice & Objection to Rule 170 Filing by Non-Party GAL
04/22/2025   INF: Information (Generic)
               Master Notice of Federal Conflict, Retaliatory Custodial Interference, ADA Obstruction & Due Process Violations
Index # 36
04/22/2025   INF: Information (Generic)                                                                           Index # 37
               Supplemental to Affidavit of Angeliina Lawson
04/23/2025   MOT: Motion (Generic)                                                                                Index # 41
              Motion to Withdraw
04/23/2025   MOT: Motion (Generic)                                                                                Index # 38
              Motion to Recuse Judge Eric W Godderz & Chief Judge Taylor Wine
04/23/2025   INF: Information (Generic)                                                                           Index # 39
               Notice of Guardian Ad Litem Misconduct & Federal Escalation
04/23/2025   MOT: Motion (Generic)                                                                                Index # 40
              Motion to Transfer Venue to Johnson County, Kansas
04/28/2025   INF: Information (Generic)                                                                           Index # 42
               Notice of Noncompliance, Custodial Interference & Fraud on the Court
05/05/2025   INF: Information (Generic)                                                                           Index # 43
               Obection to Judicial Denial of Self-Represnetation & Enforced Legal Counsel
05/08/2025   INF: Correspondence                                                                                  Index # 44
               Correspondence:Notice of Removal Under 28 U.S.C 1443
05/08/2025   INF: Information (Generic)                                                                           Index # 45
               CART notes from Hearing (5/08/2025)
05/08/2025   INF: Information (Generic)                                                                           Index # 46
               CR Rhonda Rhodes Wise



                                                        Dispositions

11/10/2020   Settled w/o Judicial Conf or Hearing (Judicial Officer: Godderz, Eric W)




                                                          Hearings

08/10/2023 Status Conference (9:30 AM) (Judicial Officer: Godderz, Eric W)
             BY VIDEO
                No Court Appearance Required - Hearing Not Held
10/19/2023 Status Conference (9:45 AM) (Judicial Officer: Godderz, Eric W)
             BY VIDEO
                No Court Appearance Required - Hearing Not Held
11/15/2023   Status Conference (9:00 AM) (Judicial Officer: Godderz, Eric W)
               BY VIDEO
                  Hearing Held
12/13/2023 Status Conference (11:30 AM) (Judicial Officer: Godderz, Eric W)
             BY VIDEO
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                                                   Case Summary
                                                Case No. 2020-DM-000131
                  Hearing Held
01/10/2024 Bench Trial (1:00 PM) (Judicial Officer: Godderz, Eric W)
             IN PERSON - 2 HRS
               Hearing Held
02/07/2024 Status Conference (11:45 AM) (Judicial Officer: Godderz, Eric W)
             BY VIDEO
                Hearing Held
02/22/2024 Status Conference (2:00 PM) (Judicial Officer: Godderz, Eric W)
             BY VIDEO
                Hearing Held
03/25/2024 Status Conference (1:00 PM) (Judicial Officer: Godderz, Eric W)
             BY VIDEO
                Hearing Held
07/15/2024 Bench Trial (1:30 PM) (Judicial Officer: Godderz, Eric W)
             IN PERSON - 1/2 DAY
               Hearing Held
08/01/2024 Motion (4:30 PM)
               Hearing Held
08/08/2024 Status Conference (9:30 AM) (Judicial Officer: Godderz, Eric W)
             ZOOM
                Hearing Held
08/28/2024 Status Conference (2:00 PM) (Judicial Officer: Godderz, Eric W)
             ZOOM
                Hearing Held
09/19/2024 Hearing (9:30 AM) (Judicial Officer: Godderz, Eric W)
             ZOOM
               Hearing Held
10/03/2024 Status Conference (9:45 AM) (Judicial Officer: Godderz, Eric W)
             ZOOM
                Hearing Held
10/29/2024 Status Conference (11:00 AM) (Judicial Officer: Godderz, Eric W)
             ZOOM - MOTION TO CHANGE VENUE FILED
                Hearing Held
12/12/2024 Status Conference (10:30 AM) (Judicial Officer: Godderz, Eric W)
             ZOOM
                Hearing Held
02/26/2025 Motion (10:30 AM) (Judicial Officer: Godderz, Eric W)
            ZOOM - MOTION FOR EVALUATION
               Hearing Held
03/07/2025 Court Review - No Appearance (8:00 AM) (Judicial Officer: Wine, Taylor J)
05/08/2025 Status Conference (9:00 AM) (Judicial Officer: Godderz, Eric W)
             ZOOM
                Hearing Held




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